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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7

 8 UNITED STATES OF AMERICA,

 9                                                     CASE NO. CR12-5001 BHS
                             Plaintiff,

10                                                     ORDER DENYING
                 v.                                    DEFENDANT’S MOTION FOR
11 MICHAEL LY, et al.,                                 SANCTIONS

12                           Defendants.

13

14         This matter comes before the Court on Defendant Hung Viet Tran’s (“Tran”)

15 motion for sanctions (Dkt. 163).

16         On October 1, 2012, Tran filed the instant motion requesting that the Court

17 suppress all evidence obtained against Tran for discovery violations or, in the alternative,

18 perform an in camera review of Drug Enforcement Agency (“DEA”) reports. Dkt. 163.

19 On October 9, 2012, the Government responded (Dkt. 168) and submitted the reports ex

20 parte and under seal (Dkt. 173). On October 12, 2012, Tran replied. Dkt. 177.

21         First, Tran argues that the DEA reports are material to his defense and the

22 Government was under an obligation to produce them earlier. Dkt. 163 at 8–12. The


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 1 Court disagrees because Tran has failed to show that “the documents are material to the

 2 preparation of their defense against the Government’s case in chief . . . .” United States

 3 v. Armstrong, 517 U.S. 456, 463 (1996). Moreover, even if they are material, they were

 4 produced in sufficient time before trial. Therefore, the Court denies Tran’s motion for

 5 sanctions.

 6         Second, Tran requests that the Court conduct an in camera review to determine

 7 whether the redactions are “legitimate.” Dkt. 163 at 12. The Court has reviewed the

 8 documents (Dkt. 173) and finds that the reports do not contain relevant material that has

 9 not been disclosed by the Government (see Dkt. 168 at 4–8). The single discrepancy is

10 that one DEA author contends that the DEA became involved on June 30, 2010 whereas

11 the Government contends that the DEA joined the investigation on July 1, 2010 (Dkt. 175

12 at 26). This discrepancy is immaterial to any issue in this proceeding. Therefore, the

13 Court denies Tran’s motion to produce redacted material.

14         IT IS SO ORDERED.

15         Dated this 24th day of January, 2013.

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                                              A
                                              BENJAMIN H. SETTLE
                                              United States District Judge

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